Case 2:17-cv-07639-PSG-KS Document 728 Filed 04/08/20 Page 1 of 3 Page ID #:35288



    1
    2
    3                                                    4/8/2020
    4
    5
    6
    7
    8
                           UNITED STATES DISTRICT COURT
    9                     CENTRAL DISTRICT OF CALIFORNIA
   10                           WESTERN DIVISION

   11 JUNO THERAPEUTICS, INC.,               Case No. 2:17-cv-07639-PSG-KSx
      MEMORIAL SLOAN KETTERING
   12 CANCER CENTER, AND SLOAN               [PROPOSED] FINAL JUDGMENT
   13 KETTERING INSTITUTE FOR
      CANCER RESEARCH,
   14                                        Hon. Philip S. Gutierrez
               Plaintiffs,
   15                                        Courtroom 6A
           v.
   16
      KITE PHARMA, INC.,
   17
               Defendant.
   18
   19 AND RELATED COUNTERCLAIMS
   20
   21
   22
   23
   24
   25
   26
   27
   28

                                                                    [PROPOSED] FINAL JUDGMENT
                                                                     Case No. 2:17-cv-07639-PSG-KSx
Case 2:17-cv-07639-PSG-KS Document 728 Filed 04/08/20 Page 2 of 3 Page ID #:35289



    1        This action came on for jury trial on December 3, 2019, in Courtroom 10C of
    2 the above-entitled Court, the Honorable District Court Judge S. James Otero
    3 presiding. On December 13, 2019, the jury returned a unanimous verdict in favor of
    4 Plaintiffs Juno Therapeutics, Inc., and Sloan Kettering Institute for Cancer Research
    5 (“Plaintiffs”), and against Defendant Kite Pharma, Inc. (“Kite”). Dkt. No. 593
    6 (redacted version); Dkt. No. 594 (sealed version). The Court has now considered and
    7 resolved each side’s consolidated post-trial motions.
    8        NOW THEREFORE, IT IS ORDERED, ADJUDGED, AND DECREED
    9 THAT JUDGMENT IS HEREBY ENTERED IN THIS MATTER AS
   10 FOLLOWS:
   11        1.     Kite has infringed claims 3, 5, 9, and 11 of United States Patent No.
   12 7,446,190 (“the ’190 Patent”) since October 18, 2017, by making, selling, and/or
   13 offering to sell Yescarta® in the United States.
   14        2.     Kite’s infringement of claims 3, 5, 9, and 11 of the ’190 Patent has been
   15 willful.
   16        3.     Claims 3, 5, 9, and 11 of the ’190 Patent are not invalid for lack of
   17 enablement or written description.
   18        4.     The ’190 Patent’s Certificate of Correction is not invalid.
   19        5.     Judgment is entered against Kite on its counterclaims of non-
   20 infringement and invalidity.
   21        6.     Plaintiffs shall recover: (1) $778,343,501 on the jury verdict,
   22 comprising (a) a $585,000,000 upfront payment; and (b) $193,343,501, calculated as
   23 a 27.6% running royalty on each of (i) Kite’s net revenues from sales of Yescarta®
   24 from October 18, 2017 through September 30, 2019, which were $603,650,765; and
   25 (ii) Kite’s net revenues from sales of Yescarta® from October 1, 2019 to December
   26 12, 2019, which were $96,869,167; (2) pre-judgment interest on the jury’s verdict in
   27 the amount of $32,807,300, and (3) enhanced damages of $389,171,750.50.
   28

                                             2                             [PROPOSED] FINAL JUDGMENT
                                                                            Case No. 2:17-cv-07639-PSG-KSx
Case 2:17-cv-07639-PSG-KS Document 728 Filed 04/08/20 Page 3 of 3 Page ID #:35290



    1        7.     As provided in 28 U.S.C. § 1961, Plaintiffs shall also recover post-
    2 judgment interest on all amounts listed in paragraph 6 above, at a rate of 0.15%,
    3 compounded annually, from the date of this Judgment until the Judgment is paid.
    4        8.     Kite shall pay Plaintiffs a running royalty of 27.6% of its net revenues
    5 for Yescarta® and any other therapy using the same infringing CAR from December
    6 13, 2019 to the expiration date of the ’190 Patent, August 28, 2024. Kite shall disclose
    7 its net revenues for Yescarta® and any other therapy using the same infringing CAR
    8 to Plaintiffs by the second Monday following the end of each quarter and wire
    9 Plaintiffs a corresponding royalty payment by that same date. Further, within ten (10)
   10 days of entry of this Judgment, the parties shall submit to the Court proposed terms
   11 for inspection and reporting procedures regarding the therapies and revenues subject
   12 to the ongoing royalties awarded in this paragraph.
   13
   14 Dated: April 8            , 2020
   15
   16
                                                 HONORABLE PHILIP S. GUTIERREZ
   17
                                                 UNITED STATES DISTRICT JUDGE
   18
   19
   20
   21
   22
   23
   24
   25
   26
   27
   28

                                             3                             [PROPOSED] FINAL JUDGMENT
                                                                           Case No. 2:17-cv-07639-PSG-KSx
